                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION

                                   DOCKET NO. 5:05CR214-V

UNITED STATES OF AMERICA,                         )
                                                  )             PRELIMINARY ORDER
               v.                                 )               OF FORFEITURE
                                                  )
(1) DONNA FAYE ATKINS REEVES                      )

       In the Consent Order and Judgment filed herein on January 17, 2006, this Court ordered

forfeiture of $150,000 as a money judgment against defendant, representing criminal proceeds, and

authorized collection of that judgment from any property of the defendant in accordance with 21

U.S.C. §853(p). The government has recovered $68,000 to date from certain specified property of

defendant and has moved under Fed. R. Crim. P. 32.2(e)(1)(B) for a preliminary order of forfeiture

as to other assets as substitute property for a corresponding portion of the remaining $82,000.

       It is therefore ORDERED:

       1. Based upon defendant’s conviction and the Consent Order and Judgment, the following

property belonging to defendant and seized during the investigation of this case is hereby forfeited

to the United States for disposition according to law, subject to the provisions of 21 U.S.C. §853(n):

               (a) $1,550.00 in United States currency;

               (b) Two Rolex watches; and,

               © Assorted jewelry worth approximately $3,000 to $5,000.

               (d) One 1997 Ford Expedition, VIN 1FMFU18LXVLC26180, subject to payment of

               a lien in favor of Grayson National Bank.

       2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish as required by law notice

of this order; notice of its intent to dispose of the property in such manner as the Attorney General



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may direct; and notice that any person, other than the defendant, having or claiming a legal interest

in any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set forth

the nature and extent of the petitioner’s right, title or interest in each of the forfeited properties and

any additional facts supporting the petitioner’s claim and the relief sought. The United States may

also, to the extent practicable, provide direct written notice to any person known to have alleged an

interest in property that is the subject of this order of forfeiture, as a substitute for published notice

as to those persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. §853(n).

        SO ORDERED.

                                                    Signed: April 29, 2008




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